                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )        Case No. 4:14-mj-37
vs.                                                )        EDTN Mag. No. 1:14-mj-267
                                                   )
ALLEN CECIL FRY                                    )        JUDGE CARTER

                               MEMORANDUM AND ORDER

       The defendant appeared for a hearing before the undersigned on October 10 and 14, 2014,
in accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure, on a Complaint
and Warrant for Arrest out of the Northern District of Georgia at Rome. Those present for the
hearing included:

              (1) An Assistant United States Attorney for the Government.
              (2) The defendant, ALLEN CECIL FRY.
              (3) Attorney Gene Shiles for defendant.

        After being sworn in due form of law, the defendant was informed or reminded of his
privilege against self-incrimination accorded him under the 5th Amendment to the United States
Constitution.

        It was determined the defendant wished to be represented by an attorney and he qualified
for the appointment of an attorney to represent him at government expense. Attorney Gene
Shiles was APPOINTED to represent the defendant. It was ascertained defendant had been
provided with a copy of the Complaint and Warrant for Arrest and had the opportunity of
reviewing those documents with his attorney. It was determined defendant was capable of being
able to read and understand the copy of the aforesaid documents he had been provided.

        The government moved defendant be detained without bail pending a hearing in the
Northern District of Georgia. Explanation of Rules 5 and 5.1 of the Federal Rules of Criminal
Procedure were made to the defendant. The defendant requested a preliminary hearing and
detention hearing in this district.

                      Detention Hearing and Preliminary Hearing - Proof

       The AUSA called FBI Agent Micah Childers as a witness. He testified to the facts
outlined in the affidavit attached to the criminal complaint.

                                           Findings

       Having heard and considered the testimony of the Agent Childers and U.S. Probation

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Officer Candace Lindsey during the detention hearing and preliminary hearing and the
Affidavit/Complaint, the undersigned finds:

              (1) There is probable cause to believe that there have been
              violations of 21 U.S.C. ' 841(a)(1) and 846, conspiracy to possess
              with the intent to distribute a controlled substance, committed in
              the Northern District of Georgia.

              (2) There is probable cause to believe the defendant committed the
              aforesaid offenses.

              (3) The proof the defendant committed the aforesaid offenses is
              strong.

              (4) There are no conditions nor are there any combinations of
              conditions which will reasonably assure the safety of the
              community.


                                         Conclusions

       It is ORDERED:

       (1) Defendant shall be DETAINED WITHOUT BAIL pending his transfer to the
       Northern District of Georgia at Rome.

       (2) The AUSA’s motion to detain the defendant without bail is
       GRANTED for reasons set out in the separate ORDER OF DETENTION
       PENDING TRIAL filed with this order.

       (3) The U.S. Marshal shall transport defendant to the Northern District of Georgia
       at Rome for a hearing before U.S. Magistrate Judge Walter E. Johnson on a date to
       be determined once defendant is in said district=s custody.

       ENTER.


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                                            UNITED STATES MAGISTRATE JUDGE




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